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 1   BRUCE LOCKE (#177787)
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     (916) 569-0665 fax
 4   Attorneys for
     GAVRILO SPAICH
 5
 6                             IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                 No. CR. S-08-440 JAM
                                         )
 9                     Plaintiff,        )
                                         )                 STIPULATION AND ORDER
10                                       )                 CONTINUING THE DATE FOR
           v.                            )                 SENTENCING AND SETTING A
11                                       )                 NEW SCHEDULE FOR FILING OF
     GAVRILO SPAICH, et al.,             )                 FORMAL OBJECTIONS AND
12                                       )                 SENTENCING MEMORANDA
                       Defendants.       )
13   ____________________________________)
14          IT IS HEREBY STIPULATED AND AGREED between the defendant, Gavrilo Spaich, by
15   and through his defense counsel, Bruce Locke, and the United States of America, by and through its
16   counsel, Assistant United. States Attorney Steven Lapham, that the date for sentencing shall be
17   continued from March 8, 2011 to April 12, 2011 at 9:30 a.m..
18          It is further stipulated that the Motion for Correction of the Pre-Sentence Report shall be
19   filed with the Court and served upon opposing counsel and the Probation Officer no later than March
20   29, 2011; and the Reply or Statement of Non-Opposition shall be filed with the Court no later than
21   February April 1, 2011.
22          The reason for the continuance is that Mr. Spaich needs to undergo medical tests and the
23   additional time is necessary to conduct those tests. Mr. Lapham has authorized Mr. Locke to sign
24   this stipulation and proposed order for him.
25
26   DATED: February 22, 2011                           /S/ Bruce Locke
                                                    BRUCE LOCKE
27                                                  Attorney for Gavrilo Spaich
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29                                                     1
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 5   DATED: February 22, 2011               /S/ Bruce Locke
                                        for STEVEN LAPHAM
 6                                      Attorney for the United States
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           IT IS SO ORDERED.
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12   DATED: 2/22/2011                   /s/ John A. Mendez
                                        JOHN A. MENDEZ.
13                                      United States District Judge
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